Case 5:17-cr-00239-PA Document 31-1 Filed 05/09/18 Page 1 of 1 Page ID #:103



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     Attorney for: MELVIN EDWARDS III
 5
 6
                        UNITED STATES DISTRICT COURT
 7
                        CENTRAL DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,         )
                                       ) CASE NO: ED CR-17-239 PA #1
10              Plaintiff,             )
                                       )
11             -vs-                    ) (Proposed) ORDER TO CONTINUE
                                       ) THE SENTENCING HEARING
12   MELVIN EDWARDS III,               )
                                       )
13              Defendant,             )
                                       )
14   ---------------------------
15         GOOD CAUSE APPEARING, IT IS HEREBY ORDERED:
16         Defendant Melvin Edwards III’s sentencing hearing is
17   continued from June 18, 2018 to August 6, 2018 at 8:30 a.m.
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20   Dated:                      _________________________________
                                 Honorable Percy Anderson
21                               UNITED STATES DISTRICT JUDGE
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